     Case 4:22-mj-30401-CI ECF No. 13, PageID.28 Filed 09/29/22 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
                                            CASE NO. 22-mj-30401
            Plaintiff,
                                            HON. CURTIS IVY, JR.
v.                                          United States Magistrate Judge

RAMIRO BARAJAS,

            Defendant.


                  Stipulation to Adjourn Preliminary Hearing
            and to Exclude Time to Indict under the Speedy Trial Act


1.    On September 21, 2022, defendant Ramiro Barajas, made his initial

appearance on the complaint in this case, which charges him with knowing that he

had been convicted of a crime punishable by imprisonment for a term exceeding

one year, and knowing that he was an unlawful user of a controlled substance,

specifically methamphetamine, knowingly possessed, in or affecting commerce,

firearms and ammunition in violation of 18 U.S.C. § 922(g)(2) and 18 U.S.C. §

922(g)(3)

2.    On September 26, 2022, the defendant, Ramiro Barajas consented to

detention and a preliminary hearing was set October 5, 2022.




                                        1
     Case 4:22-mj-30401-CI ECF No. 13, PageID.29 Filed 09/29/22 Page 2 of 4




3.    The parties now seek to adjourn the October 5, 2022 preliminary hearing

until October 26, 2022, to allow the parties time to discuss pre-indictment plea

negotiations and to obtain, exchange and review discovery.

4.    The parties stipulate that the amount of time between October 5, 2022 and

October 26, 2022 should be excludable from the time in which the government

must file an indictment under the Speedy Trial Act, because it will allow time for

the parties to engage in pre-indictment plea negotiations which could resolve all of

the issues in the case and because the ends of justice served by the adjournment

outweigh the best interests of the public and the defendant in a speedy trial. 18

U.S.C. § 3161(h)(7).

5.    Moreover, defendant consents to the adjournment and he continues to waive

the 14-day time period in which to hold the preliminary hearing under Federal

Rules of Criminal Procedure 5.1(c) and consents to extending the time pursuant to

Federal Rule of Criminal Procedure 5.1(d).

Respectfully submitted,

DAWN N. ISON                                  Dated: September 29, 2022
United States Attorney

s/JULES M. DePORRE                            s/JEROME SABBOTA
JULES M. DePORRE (P73999)                     JEROME SABBOTA
Assistant United States Attorney              Attorney for Ramiro Barajas
600 Church Street                             26862 Woodward Ave., Unit 200
Flint, Michigan 48502-1280                    Royal Oak, MI 48067
Phone: (810) 766-5026                         Phone: (248) 543-8000
Email: jules.deporre@usdoj.gov                Email: jerry@ribitwersabbota.com
                                          2
     Case 4:22-mj-30401-CI ECF No. 13, PageID.30 Filed 09/29/22 Page 3 of 4




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
                                              CASE NO. 22-mj-30401
            Plaintiff,
                                              HON. CURTIS IVY, JR.
v.                                            United States Magistrate Judge

RAMIRO BARAJAS,

            Defendant.


                   Order to Adjourn the Preliminary Hearing
                 and to Exclude Time Under the Speedy Trial Act


        The Court has considered the parties’ stipulation to adjourn the preliminary

hearing until October 26, 2022, and to exclude the amount of time between

October 5, 2022 to October 26, 2022, from the time that the government must

return an indictment. For the reasons described in the parties’ submission, and after

considering the factors listed in § 3161(h)(7)(B), the Court finds that the ends of

justice served by granting the parties’ requested continuance outweigh the best

interests of the public and the defendant in a speedy trial and that the time from

October 5, 2022 to October 26, 2022, qualifies as excludable delay under 18

U.S.C. § 3161(h)(7). Specifically, the Court finds that the parties wish collect and

exchange discovery and engage in pre-indictment plea discussions which could

resolve all of the issues in the case.

                                          3
    Case 4:22-mj-30401-CI ECF No. 13, PageID.31 Filed 09/29/22 Page 4 of 4




    IT IS THEREFORE ORDERED that Preliminary Hearing will be adjourned

until October 26, 2022 at 1:00 pm;

    IT IS FURTHER ORDERED that the time from October 5, 2022 to October

26, 2022, shall constitute excludable delay under the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(7), because the Court finds that the ends of justice served by the granting

of the continuance outweigh the best interests of the public and the defendant in a

speedy trial.

                                             s/Curtis Iv, Jr.
                                             Curtis Ivy, Jr.
                                             United States Magistrate Judge


Entered: September 29, 2022




                                         4
